                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF TEXAS

                                   BEAUMONT DIVISION

                                                    §
 JOSEPH EBRON,
                                                    §
                                                    §
        Petitioner,
                                                    §
                                                        No. 1:14-CV-539
                                                    §
 v.                                                     Crim. No. 1:08-CR-00036
                                                    §
                                                    §
 UNITED STATES OF AMERICA,
                                                    §
                                                    §
        Respondent.

      UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR PETITIONER

       Joseph Ebron (“Ebron”), Petitioner in the above-entitled and numbered civil action,

respectfully requests that Eric M. Albritton be permitted to withdraw as counsel of record for Mr.

Ebron. Petitioner further requests that Eric M. Albritton be removed from the list of attorneys

receiving CM/ECF notices for the above-entitled and numbered civil action. Petitioner will not

suffer unfair prejudice because he will continue to be represented by the other counsel of record.

Client and opposing counsel are unopposed to Petitioner’s requested relief.


Dated: June 3, 2022                          Respectfully submitted,



                                             ________________________________
                                             Eric M. Albritton
                                             Texas State Bar No. 00790215
                                             ema@emafirm.com
                                             ALBRITTON LAW FIRM
                                             P.O. Box 2649
                                             Longview, Texas 75606
                                             Telephone: (903) 720-1097

                                             Counsel for Joseph Ebron


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                             CERTIFICATE OF CONFERENCE

              Jennifer Chiccarino, counsel for Petitioner, conferred with Mr. Ebron and opposing
counsel and confirmed they were not opposed.



                                                     ________________________________
                                                     Eric M. Albritton




                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5.1(e). As such, this document was served on all counsel by
delivery of the notice of electronic filing that is automatically generated by ECF. Local Rule CV-
5.1(d). Any counsel or parties not yet registered as an ECF user were served with a true and correct
copy of the foregoing document by email or as specifically indicated below on June 3, 2022.



                                                     _________________________________
                                                     Eric M. Albritton




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